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                      UNITED STATES DISTRICT COURT FOR

                       THE DISTRICT OF MASSACHUSETTS

*******************************
Richard Rich and Lori Bryan,  )
   Plaintiffs                 )
                              )
v.                            ) COMPLAINT AND DEMAND
                              )    FOR JURY TRIAL
Middlesex Corporation,        )
   and                        )
Amanda Collins,               )
   Defendants                 )
*******************************

                           PARTIES AND JURISDICTION

1.     The Plaintiffs, Richard Rich and Lori Bryan, are New Hampshire residents with

an address of 85 Milford Street, Manchester, New Hampshire, 03102. At all times

relevant, the Plaintiff Lori Bryan was the lawful wife of the Plaintiff Richard Rich.

2.     The Defendant, Middlesex Corporation, is a domestic Corporation with a

principal place of business at One Spectacle Pond Road, Littleton, Massachusetts, 01460.

3.     The Defendant, Amanda Collins currently resides at 262 Chestnut Street,

Gardner, Massachusetts, 01440.

4.     Jurisdiction is invoked pursuant to 28 U.S.C. §1332(a), based on diversity of

citizenship. The amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

5.     Venue is proper in this Court pursuant to 28 U.S.C. §1391 in that the subject

personal injury of August 31, 2015, occurred in Wilmington, MA.
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                          BASIC FACTS OF THE INCIDENT

6.     The Defendant Middlesex Corporation was the owner of the vehicle driven by the

Defendant Amanda Collins on August 31, 2015.

7.     The Defendant Amanda Collins was the driver of a vehicle owned by the

Defendant Middlesex Corporation.

8.     Plaintiff Richard Rich was the driver of a vehicle owned by Loveland Trucking.

9.     On August 31, 2015, Plaintiff Richard Rich, in the course of his employment as a

truck driver for Loveland Trucking, was operating an 18-wheel tractor trailer truck on

Route 93 in Wilmington, MA.

10.    Mr. Rich was traveling in a southerly direction in the second of four lanes. Traffic

was heavy and slow, and Mr. Rich came to a stop behind a Mitsubishi box truck owned

and operated by Bernard Mburu. Within about five seconds of stopping, a Mack dump

truck, hauling approximately 77,000 pounds of asphalt, barreled into the back of Mr.

Rich’s truck. The Mack truck, driven by Amanda Collins and owned by Middlesex

Paving, was estimated to have been traveling at approximately 65 miles-per-hour when it

attempted to stop behind Mr. Rich’s truck, but was unable to do so because of its speed

and the weight of its load.




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11.     The impact to the rear of the 18-wheeler was substantial, pushing the large truck

forward, where it collided with the rear of the box truck. The impact dislodged the

transmission of the Mack dump truck, and the broken transmission caused an oil spill in

the road.

12.     Mr. Rich’s body was jolted forward and then backward before it rested slumped

over the steering wheel. He lost consciousness for a brief period When he awoke, there

was smoke throughout the cabin. The driver of the box truck had come to offer

assistance. The Massachusetts State Trooper then arrived at the scene, and Mr. Rich was

instructed to wait in his truck for paramedics. Mr. Rich was transported by ambulance to

Lahey Clinic for diagnosis and treatment of his numerous injuries.

13.     The 18-wheel truck Mr. Rich was operating sustained heavy damage to its front

and rear ends and was towed from the scene. The dump truck operated by Ms. Collins

also sustained heavy front-end damage. It was also towed from the scene.



                   COUNT I-NEGLIGENCE (DIRECT LIABILITY)-
                       PLAINTIFFS V. AMANDA COLLINS

14.     Each and every fact and allegation stated above is incorporated herein and made a

part hereof as if fully restated.




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15.    The incident, injuries and damages described herein were caused by the

carelessness, negligence, and negligence per se of Defendant Collins, in the following

particular respects:

       a.      Failing to operate the vehicle with due care and with due regard for the
               safety of others;

       b.      Failing to maintain a proper and adequate look out;

       c.      Failing to operate the vehicle with due care and due regard for road
               conditions;

       d.      Failing to operate the vehicle at a safe and reasonable speed;

       e.      Operating the vehicle at a speed in excess of the posted speed limit;

       f.      Operating at a high rate of speed under the circumstances;

       g.      Failing to properly observe and react to conditions existing at the time of
               the incident;

       h.      Failing to brake and timely stop the vehicle;

       i.      Failing to take other avoidance measures;

       j.      Failing to remain alert and attentive;

       k.      Failing to maintain a proper lookout, to maintain a safe distance between
               her Mack dump truck and the 18-wheel truck stopped in front of her, to
               maintain a reasonable rate of speed for the conditions then and there
               existing, to apply her brakes to avoid striking other vehicles from behind in
               a rear-end collision, to be alert and attentive at all times to her driving
               responsibility, to keep her vehicle under control at all times, and otherwise
               to exercise due care in the operation of her vehicle;

       l.      Driving too fast for the traffic conditions and the weight of the load she
               was carrying. A citation was issued to Ms. Collins for Violation of Code
               720 CMR 9.06(9) [failure to exercise care in starting, stopping, turning or
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                backing]. According to the police report, “Collins was cited for failure to
                use care in stopping.”

        m.      Violating the acts of the Commonwealth of Massachusetts concerning the
                operation of vehicles, including the Code of Massachusetts Regulations;
                and

        n.      Violating and failing to adhere to applicable statutes, ordinances, rules,
                regulations and standards governing or relating to the operation of vehicles.

16.     Defendant Middlesex Corporation is vicariously liable for the negligence of

Defendant Collins as set forth above.

17.     The foregoing carelessness, negligence, and liability of Defendants Middlesex

Corporation and Amanda Collins, and each of them, increased the risk of harm, injuries

and damages described herein, and were a substantial contributing factor in causing those

injuries and damages.

        WHEREFORE, the Plaintiff, Richard Rich, seeks and demands judgment against

the Defendants in the amount of his damages, costs and interest in reasonable attorney’s

fees.

                        COUNT II - NEGLIGENCE (DIRECT LIABILITY) –
                        PLAINTIFFS V. MIDDLESEX CORPORATION

18.     Each and every fact and allegation stated above is incorporated herein and made a

part hereof as if fully restated.

19.     The incident, injuries and damages described herein were caused by the

carelessness and negligence of Defendant Middlesex Corporation, individually, jointly

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and/or severally, by and/or through their agents, workmen, servants and/or employees,

both generally and in the following particular respects:

        a.     Failing to hire safe and competent drivers;

        b.     Hiring and/or otherwise retaining Defendant, Amanda Collins, as a driver;

        c.     Failing to ensure that competent, qualified, safe, and experienced drivers
               were hired;

        d.     Failing to ensure that only competent, qualified, safe and experienced
               drivers were retained;

        e.     Failing to ensure the training of Amanda Collins;

        f.     Failing to properly train and supervise Amanda Collins;

        g.     Failing to create, institute, adopt, enforce and comply with policies and
               procedures concerning the operation of tractor-trailers, including but not
               limited to safe driving procedures.

20.     The foregoing carelessness and negligence of Defendant Middlesex Corporation

increased the risk of harm, injuries and damages described herein, and were a substantial

contributing factor in causing those injuries and damages.

        WHEREFORE, the Plaintiff, Richard Rich, seeks and demands judgment against

the Defendant in the amount of his damages, costs and interest in reasonable attorney’s

fees.




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              COUNT III - NEGLIGENCE (VICARIOUS LIABILITY) –
                    PLAINTIFFS V. MIDDLESEX CORPORATION

21.     Each and every fact and allegation stated above is incorporated herein and made a

part hereof as if fully restated.

22.     At all times relevant, the Defendant Amanda Collins was acting within the scope

of her employment by the Defendant Middlesex Corporation.

23.     In the circumstances, the Defendant Middlesex Corporation is vicariously liable

for the actions of the Defendant Collins.

        WHEREFORE, the Plaintiff, Richard Rich, seeks and demands judgment against

the Defendant in the amount of his damages, costs and interest in reasonable attorney’s

fees.



                         COUNT III - LOSS OF CONSORTIUM

24.     Each and every fact and allegation stated above is incorporated herein and made a

part hereof as if fully restated.

25.     At all times relevant herein, Lori Bryan was the lawful wife of the Plaintiff,

Richard Rich, Jr.

26.     As a direct and proximate result of the Defendants’ negligence, the Plaintiff, Lori

Bryan, did suffer the loss of her husband’s care, comfort, and consortium and was

otherwise damaged.

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       WHEREFORE, the Plaintiff, Lori Bryan, seeks and demands judgment against the

Defendants in the amount of her damages, costs and interest in reasonable attorney’s fees.



                                   JURY DEMAND

       Richard Rich and Lori Bryan demand a jury on all counts so triable.




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                                    Respectfully submitted,
                                    RICHARD RICH AND LORI BRYAN

                                    By and through their attorneys,
                                    SHAHEEN & GORDON, P.A.


Dated: August 6, 2018               By: /s/ Francis Murphy____________
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